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                              M ARIA -C OSTANZA B ARDUCCI
                            BARDUCCI LAW FIRM
             10/19/2020          5 WEST 19TH STREET, 10TH FLOOR
                                  NEW YORK, NEW YORK 10011
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                                        October 19, 2020
Via CM/ECF Only
Honorable Stewart D. Aaron                 Request GRANTED. The telephonic initial conference is hereby
United States Magistrate Judge             adjourned to November 9, 2020 at 2:00 p.m. SO ORDERED.
Southern District of Florida               Dated: 10/19/2020
500 Pearl Street
New York, NY 10007

       RE:     Michael Adams vs. Famous Calabria Pizza LLC, et al.
               Case No.: 1:20-cv-01304-VEC
               Letter-Motion for Adjournment of Conference

Dear Judge Aaron,
       I represent Plaintiff in the above-referenced matter.
       The Initial Pretrial Conference is scheduled for October 22, 2020 [per DE#22].
       The parties are continuing their settlement discussions after Defendant obtained an
engineer to inspect the property as it relates to the violations listed in the complaint.
        Plaintiff requests a twenty (20) day adjournment of the Initial Pretrial Conference to
allow the parties time to discuss this matter and attempt to come to a resolution. Defense counsel
has also advised that he is unavailable all Thursdays in November, as well as November 25,
2020.
       This is the second request for an adjournment of the Initial Pretrial Conference.
       This adjournment will not affect any other deadlines or hearings.
       Defendants consent to this request.
       Thank you for your consideration.
                                                 Respectfully submitted,
                                                 s/ Maria-Costanza Barducci
                                                 Maria-Costanza Barducci, Esq. (5070487)
                                                     Attorney for Plaintiff
                                                 BARDUCCI LAW FIRM, PLLC
Via CM/ECF Only
